         Case 2:24-cr-00570-WLH              Document 962-1 Filed 02/18/25                 Page 1 of 1 Page ID
                                                      #:4383
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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                  CASE NUMBER:
UNITED STATES OF AMERICA
                                                                           CR 2:24-cr-00570-WLH
                                                   Plaintiff(s)            CV
                         v.
CLAIRE PATRICIA HAVILAND, et al.,                                                WRIT OF HABEAS CORPUS
CURTIS ALLEN WATSTEIN (45),
                                                                     ✘ AD PROSEQUENDUM              AD TESTIFICANDUM
                                                Defendant(s)



         WHEREAS the attached application was granted by the Honorable
         Judge/Magistrate Judge of the U.S. District Court for the Central District of California, the named custodian:
         Warden of Centinela State Prison, 2302 Brown Road, Imperial, CA 92251
         IS HEREBY DIRECTED to produce and deliver the named detainee, CURTIS ALLEN WATSTEIN
         before the Honorable Pedro V. Castillo, Duty Magistrate Judge                 Judge/Magistrate Judge of the
         United States District Court, United States Courthouse, Courtroom No.                640          , located at
         255 East Temple Street Los Angeles, CA 90012-3332                               on      March 13, 2025
         at         1:30 p.m.          , and thereafter to maintain said detainee within the jurisdiction of this Court
         pending the satisfaction of this Writ or further Order of the Court.


         WITNESS the Honorable                                                         Judge/Magistrate Judge of the
         United States District Court for the Central District of California.




         Dated:                                                      CLERK, U.S. DISTRICT COURT



                                                                     By:
                                                                                     Deputy Clerk




                        WRIT OF HABEAS CORPUS AD PROSEQUENDUM/AD TESTIFICANDUM
G-09A (09/97)
